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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

CATHIE KEMPTER,

               Plaintiff,                                       Case No. 12-10261
                                                                Honorable Thomas L. Ludington
v.

MICHIGAN BELL TELEPHONE COMPANY,
a/k/a AT&T MICHIGAN; TRACY BAIN;
RICK SPIECE; and RENEE GARCIA,

               Defendants.
                                                       /

                                              JUDGMENT

       In accordance with the order granting in part Defendants’ motion for summary judgment

and declining jurisdiction over Plaintiff’s state law claims,

       It is ORDERED AND ADJUDGED that summary judgment is GRANTED in favor of

Defendants as to Count III of Plaintiff’s complaint.

       It is further ORDERED AND ADJUDGED that the Court DECLINES jurisdiction over

Plaintiff’s state law claims, and Counts I and II of Plaintiff’s complaint are DISMISSED without

prejudice to her state law cause of action.

       It is further ORDERED AND ADJUDGED that this case is remanded to the Circuit

Court for the County of Saginaw, State of Michigan.

Dated: December 20, 2012                               s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on December 20, 2012.

                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS
